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         T: (213) 891-1400
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         T: (310) 396-0964
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10       Attorneys for Plaintiffs KRASIMIR DACHEV, PEACE
         FOR YOU PEACE FOR ME and SVILOSA AD
11

12
                                       UNITED STATES BANKRUPTCY
13
                                   CENTRAL DISTRICT OF CALIFORNIA
14
                                    SAN FERNANDO VALLEY DIVISION
15
         In re:                                      Case No. 1:17-bk-12434-VK
16
                                                     Chapter 7
17       ROBIN DIMAGGIO,
                                                     Adv. No. 1:17-01099
18                            Debtor.
         __________________________________          DECLARATION OF ALEXANDER PANEV IN
19                                                   SUPPORT OF MOTION FOR SUMMARY
         KRASIMIR DACHEV, an individual,             JUDGMENT OR, IN THE ALTERNATIVE,
20       PEACE FOR YOU PEACE FOR ME, a               PARTIAL SUMMARY JUDGMENT
         non-profit foundation organized under the
21       laws of Bulgaria, and SVILOSA AD, a
         Joint Stock Company organized under the
22       laws of Bulgaria,
23                                Plaintiffs,
24          v.
25       ROBIN DIMAGGIO,
26                                Defendant.
27

28
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 1          I, Alexander Panev, declare as follows:
 2          1.       I am an associate and representative of Plaintiff Krasimir Dachev (“Dachev”) and
 3   have worked together with Dachev and Plaintiff Peace For You Peace For Me (the “Foundation”)
 4   to help organize an all-day charity concert that was to have been held in Sofia, Bulgaria on
 5   October 1, 2016 (the “Charity Concert”). I have participated in and am familiar with the
 6   communications and emails between the Foundation and Robin DiMaggio (“DiMaggio”). I am
 7   familiar with the matters stated herein and if called as a witness would and could testify
 8   competently thereto.
 9          2.      In early July 2016, the Foundation arranged a press conference in Sofia, Bulgaria,
10   to publicize the Charity Concert, at which Debtor DiMaggio was to discuss his progress in
11   securing talent for the concert. After the press conference, local press reacted with skepticism
12   that the Charity Concert could be organized in time for the October 1, 2016 concert date.
13   Following the press conference, DiMaggio sent the Foundation an invoice for $53,300 for “legal
14   defamation PR, legal attorney fees and administrative services.” Attached hereto as Exhibit CC
15   is a true and correct copy of the invoice to the Foundation for “legal defamation PR, legal
16   attorney fees and administrative services.”
17          3.      On approximately July 17 and 18, 2016, I emailed DiMaggio questioning the
18   invoice for “legal defamation PR and legal attorney fees.” I asked that DiMaggio use the funds
19   already paid to him by the Foundation to secure the commitments of Mick Jagger and Earth Wind
20   & Fire to perform at the Charity Concert, as promised. In response, DiMaggio claimed that his
21   invoice was not really for legal defamation and legal fees, but instead, that he needed $52,000 to
22   secure Mick Jagger’s commitment (on top of $150,000 already previously paid to DiMaggio for
23   Mick Jagger and Earth Wind & Fire). I noted that he continued to “change only the reasons for
24   asking” for money. Attached hereto as Exhibit DD is a true and correct copy of correspondence
25   between myself and DiMaggio on approximately July 17 and 18, 2016 reflecting these things.
26          4.      On July 31, 2016, DiMaggio emailed Plaintiff Dachev to inform him of additional
27   offers to perform at the Charity Concert. A copy of this email correspondence was forwarded to
28   me. DiMaggio conveyed the alleged contractual requirements from Jennifer Lopez, Robbie
                                                      2
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 1   Williams, Don Felder of the Eagles, Pink!, and Roger Waters in order for them to perform at the
 2   Charity Concert, and asked for a “green light” to proceed with their engagement. Attached hereto
 3   as Exhibit EE is a true and correct copy of this correspondence.
 4          5.      In connection with these alleged offers, DiMaggio sent the Foundation a “Deal
 5   Offer Form” dated August 1, 2016, seeking a deposit of $750,000 to secure Jennifer Lopez,
 6   Robbie Williams, Roger Waters, Don Felder, Christina Aguilera, and John Legend. The Deal
 7   Offer Form was on the letterhead for a purported entity called One Talent Agency and made no
 8   reference to DiMaggio or his company, DMI. Attached hereto as Exhibit FF is a true and correct
 9   copy of the Deal Offer Form.
10          6.      There were a number of issues with the Deal Offer Form. Among them, unlike the
11   prior agreements, the Deal Offer Form had no clause that returned the funds to the Foundation if
12   the artists were not available or did not agree to perform at the Charity Concert. The Deal Offer
13   Form also did not include any signature lines for OTA or for DMI. We raised these concerns
14   with DiMaggio by email and proposed revisions and amendments to include this issue and others.
15   Attached hereto as Exhibit GG is a true and correct copy of email correspondence between the
16   parties regarding proposed changes to the Deal Offer Form.
17          7.      Around the same time, DiMaggio emailed me to inform me that if OTA was not
18   paid in full, “we lose every artists [sic].” When I stated that the Foundation would not move
19   forward without the amendment to the Deal Offer Form that money would be returned if an artist
20   did not agree to the Charity Concert, DiMaggio confirmed that “[i]f an artist does not commit yes
21   100% the money goes back to Dachev.” Attached hereto as Exhibit HH is a true and correct
22   copy of this email correspondence between DiMaggio and me on or around August 3, 2016.
23          8.      On August 3, 2016, DiMaggio emailed Dachev and me, subject line: “We are
24   about to lose the deal read below,” and purported to copy or forward an email from a supposed
25   “Neil Epstein” from OTA. In it, “Mr. Epstein” wrote that the “requests were unusual and
26   management are having second thoughts.” The email further stated that “[OTA] will have to
27   close negotiations at this time … And pass on this Concert.” Attached hereto as Exhibit II is a
28   true and correct copy of DiMaggio’s August 3, 2016 email to me and Dachev.
                                                     3
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 1          9.      Later that day, DiMaggio emailed me and Dachev, attaching a revised Deal Offer
 2   Form. The Deal Offer Form again did not include a signature line for OTA or for DMI but
 3   included unclear language regarding reimbursement to the Foundation if an artist did not agree to
 4   the Foundation’s contract terms for the Charity Concert. In response, DiMaggio informed the
 5   Foundation to “[s]end [the] wire so we don’t lose them” and that he would make additional
 6   changes to the Deal Offer Letter afterwards. Attached hereto as Exhibit JJ is a true and correct
 7   copy of the August 3, 2016 email correspondence between DiMaggio and me along with the
 8   “revised” OTA agreement.
 9          10.     In addition, I asked DiMaggio to provide me with the banking information for
10   OTA so that the funds could be wired directly to them. DiMaggio informed me that if the
11   Foundation were to pay OTA directly, the Foundation would be required to pay “33% taxes [ ] on
12   top of what you are paying.” Instead, DiMaggio asked the Foundation to “continue payin [sic]
13   into my corporation.” Attached here as Exhibit KK is a true and correct copy of the August 3,
14   2016 email correspondence between DiMaggio and me.
15          11.     On August 4, 2016, one day later, DiMaggio forwarded a new contract to Dachev,
16   which was forwarded to me. The new contract included the same payment demand of $750,000
17   as the previous OTA Deal Offer Form, but was on DMI letterhead and made no reference to
18   OTA, with payments to be made directly into DMI’s bank account. DiMaggio did not explain
19   why OTA was removed from the contract or how DMI would perform what was previously to be
20   performed by OTA. Attached hereto as Exhibit LL is a true and correct copy of the August 4,
21   2016 email from DiMaggio to Dachev, which was forwarded to me.
22          12.     DiMaggio continued to push the Foundation to pay DMI directly. I asked
23   DiMaggio, repeatedly, to open an escrow account to which the Foundation would send the
24   $750,000 and from which monies paid to the artists could be tracked and accounted for. In
25   response, DiMaggio insisted that “time is about to be against us if I don’t show proof [of
26   payment]. Attached hereto as Exhibit MM is a true and correct copy of August 4, 2016 email
27   correspondence between DiMaggio and me.
28          13.     Believing DiMaggio’s representation that the artists were about to walk away, we
                                                      4
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 1   agreed with DiMaggio that the Foundation would wire him the requested $750,000 if he
 2   confirmed in writing that: (1) he would immediately establish an escrow account upon his return
 3   to Los Angeles on August 10; and (2) he would not use the money until it landed in the escrow
 4   account. DiMaggio responded: “I agree to both terms explicitly,” “I agree 100%,” and
 5   “Confirmed.” Attached hereto as Exhibit NN is a true and correct copy of the August 4, 2016
 6   email correspondence between DiMaggio and me confirming this agreement. I also sent
 7   DiMaggio an Amended Agreement between Dachev and DMI confirming that DiMaggio would
 8   open an escrow account no later than August 12, 2016, and asked that he sign it. Attached hereto
 9   as Exhibit OO is a true and correct copy of the Amended Agreement I sent him along with the
10   related communications concerning the escrow.
11          14.     Upon the insistence and representations from DiMaggio that the artists were about
12   to be “lost” and that he would open an escrow account as promised, on August 5, 2016, the
13   Foundation effectuated the wiring of an additional $750,000 to DMI’s bank account to secure
14   these artists, on the condition that the funds be placed into an escrow account to track and account
15   for the use of the funds. Those funds were wired on
16          15.     On August 10, 2016, DiMaggio emailed Dachev, claiming that he spoke with the
17   artists’ managers and that they wished to postpone the Charity Concert until December 1, 2016.
18   Now truly concerned that DiMaggio was deceiving us, I continued to ask that DiMaggio execute
19   the Amended Agreement and open the escrow account as promised. Despite my continued
20   requests, DiMaggio never signed the Amended Agreement and never opened an escrow account.
21   Attached hereto as Exhibit PP is a true and correct copy of email correspondence between
22   DiMaggio and me between August 10, 2016 and August 12, 2016.
23          16.     On August 16, 2016, I emailed DiMaggio requesting the immediate return of all
24   the monies the Foundation paid him because he failed to secure any of the promised artists, failed
25   to open the promised escrow account, and refused to execute the Amended Agreement.
26   DiMaggio claimed that “as soon as everyone returns the deposits,” he would return the monies to
27   the Foundation. Attached hereto as Exhibit QQ is a true and correct copy of email
28   correspondence between DiMaggio and me on August 16, 2016.
                                                      5
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        DIMAGGIO INTERNATIONAL, INC.
                          ARTIST AQUISISTIONS INVOICE

INVOICE N0#:                                   #DII-002-LGL-P4UP4M-LLD


LABE17VENDOR;                                  PEACE FOR YOU
                                               PEACE FOR ME FOUNDATION
                                               100, Maria Luisa Blvd.
                                               Sofia, 1202 Bulgaria
                                               c/o: Kris Dechev


DATE of EVENT:                                 OCTOBER 1ST 2016

PROJECT DESCRIPTION:                           PEACE FOR YOU
                                               PEACE FOR ME CONCERT

PAYMENT AGENDA
     LEGAL DEFAMATION PR: $40,000.00
     LEGAL ATTORNEY FEES: $12,500.00
     ADMINISTRATIVE SERVICES: $ 800.00

                               TOTAL: $53,300.00

Direct Deposit Payable to:                     DIMAGGIO INTERNATIONAL, INC.
                                               5737KananRoad#117
                                               Agoura Hills, CA 91301



                                               CITI BANK
                                               3967 a-e Thousand Oaks Blvd.
                                               Westlake Village, California
                                               91362 USA
                                               Bank Account:
                                               Routing:
                                               SWIFT CODE-dtius33




TERM
DIMASGIO INTERNATIONAL INC. has commissioned the following below:

LEGAL DEFAMATION PR: The fees for legal defamation will secure public relations for damage control
due to false Media and public disclosed marketing towards artists that have not legally been acquired
by there agency to perform on said event above.


LEGAL ATTORNEY FEES: Legal consultation and advise to PEACE FOR YOU PEACE FOR ME CONCERT &
DIMAGGIO INTERNATIONAL, INC.

ADMINISTRATIVE SERVICES: Legal administration fees will be commissioned to the attorney to handle
all legal expressions and contractual agreements to defend PEACE FOR YOU PEACE FOR ME CONCERT.




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From: "R. DiMaggip" <thedimaggio@gmail.com>
Sent: Moh, 18 Jul 2016 21:47:42 +0300
To: Alexander Panev <apanev@mtgbg.com>
Subject: Re: FW: P4YP4M

I'll wire back.
You guys can go with someone else.
I Will help in anyway I can from the side lines.

Best


  "Jiist b Nice"




On Jul 18, 2016 11:43 AM, "Alexander Panev" <aDanev(£)mteb2.com> wrote:


       Robin,




       I wired $150K for Mick and for EW&F within one day tenn. Beside this I have done everything I
       told you. I am ready to proceed.




       From among you have promised and signed, you did nothing yet. But you and your team ask for
       more money. You change only the reasons for asking. How I could know whether your team
       •won't ask another wire after these 52K?!




       You can do what you promised and have being paid. Then we can talk for the next task and next
       money. Or you can wire back and we start looking from. the beginning.




       Kris




       Ae. lalaa


       Al. Panev




                                                                                                       EXHIBIT
                                                                                                       ^
                ISeaeiaefi nuiauaiea ———


       16: "R. DiMaggio" <thedimaggio®gmail.com>                                                   DimftWQ
                                                                                                   5'1-1^



                                                                                                   PFY 000583
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   Aaoa: 18.07.16a. 20:24 (GMT+02:00)

   AI: Alexander Panev <apanev(a)mtgbg.com>


   Euea: "Svilosa-K.Dachev" <kdachev(®svilosa.bs>


   Oaia:Re:FW:P4YP4M




   Kris,
   We ueed you to -wire 52k.
   It's an absolute must.
   If not I can't get Mick.
   With what we have I can only get the Eagles at this point.

   Let me know if you can't or won't I completely understand I wfll have to resign from the Venture
   and make a wire back to you.
   This is my Teams decision and we will not budge.

   Robin




   On Jul 17, 2016 9:54 AM, "Alexander Panev" <apanev(S)mtgbg.com> wrote:


           Dear Mr, DiMaggio,




           Today we had a meeting on the topics highlighted recently by you. The summary
           follows:




           1. The Brand is PEACE FOR YOU PEACE FOR ME only. LWE AID 85 is
           mentioned in inter/iew as an example, basis of comparison, for the planned event.
           Thus there is no need of rebranding. Just for sure LIVE AID 85 will npt be mentioned
           anymcire.


           2. The Foundation full address is 100 Maria Luisa Blvd. floor 4, office 2. Here is
           the building:
           httDs://wwW.0oo£le.b0/maDS/Dlace/sofia+100+Maria+Luiza+Blvd./rS)42.7099832.23.
           3225407.3a.75v.84.5h.90t/data-!3m7!lel!3m4!lsNliVGvW8aTUS6oKriGEfvw!
           2e0!7il33l2!8i6656!4h1 !4m2!3ml!1s0x0:0x33df9668a1 c4R7R7l6m1 !1 el Above
           the bus station there are business offices in the building and one of them is the
           Foundation one.


           3. Jay's interview in NOVA TV
           (http://nova.bg/news/view/2016/07/H/153009/%Dl%89%DO%B5-
           %DO%B4%DO%BE%DO%B90/oDO%B4%DO%BO%Di%82-%DO%BB%DO%B8-
           %DO%BC%DO%B8%DO%BA-%DO%B4%DO%B6%DO%BO%DO%B3%D1%8A




                                                                                                  PFY000584
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       %D1%8Q-%DO%B8-%DO%B4%DO%B6%DO%BE%D^%BD%DO%B8-
       %DO%B4%DO%B5%DO%BF-%DO%B2-%DO%B1%D1%8A%DO%BB
       %DO%B3%DO%BO%Dl%80%DO%B8%Dl%8F/Vis positive despite of some
       provocative questions.


       4. The Stadium is negotiated and the date 1st of Oct is reser/ed in the schedule
       and will be signed immediately after we have your confirmation for the first artists.
       The respective coiitract Is not concluded due to the fact that the Stadium asks for a
       down payment at the sign.


       5. Marchello Djotolov considers that nothing requires his silence participation or
       removal from the Project. Jay Boteff and Zornitsa Djambazpva agreed.


       6. Currently there is no need of re-signing new contracts. The one with the
       Foundation is in force.


       7. Re already received amounts it is up to you to decide whether to pay it back or
       not: if you are capable of doing the job according to the Contract so use the money
       accordingly and go ahead.




       Obviously we do step in to a territory considered by some agents as reserved for
       themselves and thus manifest enviable activity organizing black PR. First facts we
       anticipate of you, together with our measures here, will stop tMs decisively. We all
       agreed it is for better that the management of this sensitive matter, decisions and acts
       under the Proj ect, shall be under the control of our kind of public council.




       As an example of false treatment please take a look on the UNESCO letter (attached)
       where is clearly said "...we salute and support..." the mitiative. We will not spend
       energy for disproving. With facts and documents we go ahead and the black PR will
       fall away -with the time.




       First next actions:


       • MICK JAGGER and EARTH, WIND & FIRE acquisition (DIMAGGIO
       INTERNATIONAL)

       • Action plan, Time schedule and Budget fo the Proj ect (MarcheUo Dj otolov)


       • Contracts conclusion with Stadium, Municipality, sound, stage and logistics
       suppliers and Sponsors (Jay Bbteff)




       It should be done first half of the next week. Until it is done nobody appears in
       public.




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       Please take in to account that the financial injections from the Sponsors are strongly
       tied with showing an evidence for the first artists engagement -with the Event.




       We WlU appreciate your comments where needed.




       Best regards,




       Kris

       Alexander




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                                                          TALENT
                                                                        Agency

                                                   DEAL OFFER FORM
                                   Confidential Agreement for Engagement

DATE OFFERED: August 1" 2016                                          OFFER EXPIRATION DATE: August 2"° 2016


PURCHASER:                              PEACE FOR YOU PEACE FOR ME ORGANIZATION
                                        (Full Address Required)


ARTIST FEES: Jennifer Lopez: $300k, Roger Waters: $150k, Robbi Williams $200k, Don Felder of(EAGLES): $150k
(Main Budget: $800,000.00 (Eight Hundred Thousand Dollars USD)


SUPPORT/OTHER ACTS FEES: Christina Aguilera: $200k & John Legend: $150k
(Supporting Budget: $350,000.00 (Three Hundred-Fifty Thousand Dollars USD)


DEPOSIT FEES: All Artists: JL=$ 200k / RW=$200k / D (Eagles)=$100k/ CA=$100k / J.Legend=$150k / R.Waters
(Deposit Budget: $750,000.00 (Seven-Hundred & Fifty Thousand Dollars USD)


FULL DEPOSIT TO BE RECEIVED: $750,000.00 (Seven Hundred-Fifty Thousand Dollars USD)

PERFORMANCE PARTICIPATION: 2-3 Songs per Act (To Be Determined)


VENUE: VASIL LEVESKI NATIONAL STADUIM, 38 Evlogi, I Hristo Georgievi Blvd, 1000 Sofia, Bulgaria
              (Full Address Required)


PERFORMANCE INFO: Please note all that apply. If venue is non-traditional, please attach photos to help visualize setup.
Indoor/Outdoor: OUTDOOR EVENT Tented/Covered Stage: YES
Estimated Attendance/ Audience Type: 35,000 - 45,000 max attendance.
Please include a description of all event details:
Scaling (if applicable):

LOAD IN (Day/Time); TBA                           DOORS: TBA


SHOWTIME: TBA                                     SHOW LENGTH: TBA


EVENT TVPE: Please note all that apply. (CHARITi' CONCERT)
PRIVATE: Corporate Employee Party/ Fundraiser/ Business to Business Event/ Incentive Trip/ Private Party/ Other:


PURCHASER WILL PROVIDE & PAY FOR ON TOP OF GUARANTEE:
   Airfares: Hotel Accommodations:                                                       Ground Transportation:
   Backline: Sound & Lights:                                                             Other: Security


MEET & GREET REQUEST: Please note, if applicable.
Who will attend: TBA Approx. how many: TBA


MERCHANDISE DEAL (ARTIST OR VENUE SELLS?]: _TBA

PROMO/MARKETING REQUEST: Please note, all materials must be sent for written approval prior before any use.
How will the event be promoted (internal/external/ invitation/email/social media requests/etc.)


RADIUS CLAUSE: Please note, if applicable.
Miles: TBA                                        Days Prior: 2DAYS              Days Following: 1DAY




NEW YORK-LOS ANGELES •HONG KONG • NASHVILLE -MIAM




                                                                                                                           PFY 000035
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 CONTRACT SIGNATORY
 Name:
 Company Name/ Address/ City/ State/ Zip:

 PURCHASER will provide the following for ARTISTS below:

 FULL PRODUCTIONS requirements include Sound, Lights, Backline, Equipment, Flight, Travel plus Hotels and Local,
 Ground Transportation plus Police and Security.

       A. JENNIFER LOPEZ; Private Travel arrangements only will be provided for Ms. Lopez for the following:
            NOTE; Private Flights from: NY to Bulgaria, (5 Star Hotel, 2 Suites, 10 Full Size Rooms) (6 Dancers / 4 Production)


       B. ROBBI WILLIAMS: Full Travel arrangements will be provided for Mr. Williams
            NOTE: London to Bulgaria: (2) 1" Class ticket/ (4) Business Class 5 Star Hotel (6 Round-Trip Flights (2 suites, 4 Full Size Rooms)


       C. DON FELDER; Travel; (1) 1 Class ticket / (1) Business Class only will be provided for Mr. Felder
            NOTE: (5 Star Hotel, 2 Suites, Full King Size Rooms)


       D. ROGER WATERS: Travel arrangements for Mr. Williams that are the following:
            NOTE: (5 Star Hotel, 2 Suites, 4 Full Size Rooms) (2 Production)


       E. JOHN LEGEND: Private Travel arrangements only will be provided for Mr. Legend for the following;
            NOTE: Private Flights from: NY to Bulgaria, (5 Star Hotel, 2 Suites), Grand Piano


       F. CHRISTINA AGU1LERA: Travel: (2) 15T Class ticket/ (8) Business Class only will be provided for Ms. Aguilera
            NOTE: (5 Star Hotel, 2 Suites, 8 Full Size Rooms) (4 Dancers / 4 Production)


This constitutes a firm offer for the services of Artists as summarized above. Upon acceptance by Purchaser, a
binding agreement will later be issued in existence between the parties as to the terms contained herein and this
offer may not be revoked, rescinded or cancelled by Purchaser for any reason, including but not limited to a force
majeure occurrence, without full payment of the indicated compensation to Purchaser.


Deposits due hereunder are consideration for the use of Artist's name/voice/likeness for announcement and
advertising (internal or external) purposes.



Purchaser shall understand this constitute as official deal offer that won't be applicable until deposit fees have
been received. All additional terms and conditions of the long form agreement to be issued and negotiated after
Deposits have been officially received.


Your signature below indicates that you are authorized to make all transactions and shall be jointly and severally
liable for all obligations contained herein including payments due to the Artist.


NO ANNOUNCEMENTS OR MARKETING WILL BE APPROVED UNLESS APPROVED IN WRITING AND DEPOSIT HAS
BEEN RECEIVED.



Signed this _ day of _,2016


PURCHASER:




By:_
       PEACE FOR YOU, PEACE FOR ME (Representative)




NEW YORK-LOS ANGELES* HONG KONG • NASHVILLE 'MIAMI




                                                                                                                                                 PFY 000036
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             EXHIBIT GG
  Case 1:17-ap-01099-VK          Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                   Desc
                                 Main Document    Page 24 of 84
From: Alexander Panev <apanev@mtgbg.com>
Sent: Fri, 04 Nov 2016 12:26:07 +0200
TO: "?????????? ?????" <apanev@mtgbg.com>
Subject: FW: One Talent Agency Offer form amendment


          From: "R. DiMaggio" <thedimaggio®gmail.com>
          Date: 2 aaaono 2016 a., 3:27:32 A&ei6e-+3
          To: "Svilosa-K. Dachev" <kdachevr2)svilosa.b2>
          Subject: Re: Fwd: One Talent Agency Offer form amendment


          Yes they can mention whatever you want that's easy once we have them there they are
          all team players it's when we have to deal with management's ect is tricky.
          And yes for the song which makes me realize we should start on that song right away.

          Sent from my Android
          Excuse Google transcription errors-I often do not proofread them




          On Aug 2, 2016 2:51 AM, "SvUosa" <kdachevfa)svilosa.bg> wrote:




          Kr. Dachev


          Begin forwarded message:

               From: "Alexander Panev" <apanevra)mtgbg.com>
               Date: August 1, 2016 at 16:38:14 GMT+3
               To: "'Svilosa-K.Dachev'" <kdachev(®svilosa.ba>
               Subject: One Talent Agency Offer form amendment


               N iTeoa laua ToaTeo,




               Dear Robin,



               The letter below is composed by J. Botef and Al. Panev.



               From: Jivko Boteff [mailto:jboteff(5)yahoo.com]
               Sent; Monday, August 1, 2016 2:12 PM
               To: PANEVALEKSANDAR
               Subject: pismo Robin
                                                                                                 TXHTBIT
                                                                                                 ~51
               To Robin Dimaggio: || ^MM6^?
                                                                                                  6-1-1^



                                                                                                   PFY 000407
Case 1:17-ap-01099-VK       Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                Desc
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           Dear Robin,




           The list of 6 is just perfect! Different generations, different music styles,
           etc...


           Only problem is Eagles - in the agreement is written only Don Felder in
           case we always discus Don Felder and what left from the band (you
           personalty called Don and the guys)



           Second:

           - Can we ask the artists to make few sentences personal statement during
           the concert considering the cause?

           - to participate in the end in the final song "P4UP4M" ?

           - and if we can offer to the small bands from B & C list to sing some
           songs of the A listers - like a covers?



           Thanks buddy




           Regarding the One Talent Agency DEAL OFFER FORM:



           1. Prior to enter in binding agreement we have to review alt
           the texts (terms and conditions, contracts etc.) The other option
           is explicitly to specify in the DEAL OFFER FORM that in case of
           disagreement on the contract, the down payment will be repaid.

           2, In connection with the above the absolute impossibility of
           cancelation the Offer is unacceptable. In case there will be no
           contract and in case of force majeure, the down payment
           should be repayable, The alternative approach would be the
           cited absolute impossibility of cancelatioh to bind the artist also,
           which we see as inappropriate.

           3. The clause for Joint and several liability of the PurchaserQ
           representatives will be acceptable provided the One Talent
           Agency representatives are under the same kind of liability
           regarding all the obligations undertaken by One Talent Agency,
           including the upfront repayment in case of disagreement on the
           contract text or breach of contract,

           4, The One Talent Agency should state explicitly that in case




                                                                                           PFY 000408
Case 1:17-ap-01099-VK                       Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                                                               Desc
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                of negligence or failure to keep all or part of its obligations,
                accordingly all or the respective part of the down payment will
                be duly repaid,

                Best regards,



                Al.Panev




      Email                                                  Disclaimer
      This email message may cuntain confidential infonDatiDn. 1{ you have recrived tins n'aruimssioa in ciTnr, and you aif not the intended
      recipient, be aware thai any disclosure, L'opying, distcibuiion or use ol this cronsinissiou or its coiileHts is prohibited. Please-, immediately
      to norify us by Reply command and permanently delete the original aud any copies iht'reof. E-mail transimssion cannot be giiaraateed to
      be secure and therefore Svjlosa AD/Svilbcell EAD do nol accept legal responsibilnv for die contents fl fliiis message and for any damage
      whatsoever that is causud by viruses being passed. Pi&a'ie, note tliat any view's 01 Dpinions presemed in tliis emitil are solely those oi the
      author and do nQt uecessai'ily f;eprei;eni£ thost* ot Svilosa AD'S v'ilo cell EAD.
      Thank                                                                                    You,
      Svilosa AD/Svilo cell FAD




                                                                                                                                                          PFY 000409
    Case 1:17-ap-01099-VK   Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19   Desc
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             EXHIBIT HH
  Case 1:17-ap-01099-VK            Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                     Desc
                                   Main Document    Page 28 of 84
From: "R. DiMaggjo" <thedimaggio@gmail.com>
Sent: Tue, 02 Aug 2016 21:27:43 +0300
To: Alexander Panev <apanev@mtgbg.com>, "Svilosa-K. Dachev" <kdachev@svilosa.bg>
Subject: Re: Alex good Morning from Asia


Alex
I talked to kris, i didnt look tonseenit was a pdf.
My apologies yes i will track the production office down and have them make the change.

Sent from my Android
Excuse Google transcription errors-I often do not proofread them




On Aug 3, 2016 6:09 AM, "R. DiMaggio" <thedimaggio(a)gmail.com> wrote:

      Ok i am in Australia then asia.
      Can you amend yourself the agreement and we will honor it.
      Its extremely time sensitive,
      If an artist does not commit yes 100% the money goes back to Dachev.
      There ;is no other way but to make things 100% right at this point.


      Advise asap

      Sent from my Android
      Excuse Google transcription errors-I often do not proofread them




      Qn Aug 3, 2016 5:51 AM, "Alexander Panev" <apanev®mtgbg.com> wrote:


            Deer Robin,




            We want the same as you - both sides to feel comfortable.




            We sent our request for amendment twice. Still none of our notes is accepted. So how
            to feel comfortable?




            Mr. Dachev stated he is ready to pay once it is agreed that in case an artist from the
            list is missing on the Event, the money for that artist wUl be returned.


                                                                                                     •BWiBIT

            Bestregards'                                                   is         ^^wp
                                                                                                       5-/-/1_
Case 1:17-ap-01099-VK       Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                Desc
                            Main Document    Page 29 of 84
       AJI. FIaHeB


       Al.Panev




       ——— OpHTHHajiHO c'bo6ii(eHHe ———


       OT: "R. DiMaggio" <thedimaggio®gmail.com>

       flara: 2.08.16 r. 19:29 (GMT+02:00)

       flo: Alexander Paaev <apanev(S)mtgbg.com>

       TeMa: Alex good Morning from Asia




       Just so you know,
       The agreement expires at 5pm NY time today on the 3rd of August and we lose every
       artists.


       He will need a signed copy and proof of wire.


       I absolutely do not want to put pressure on you and Kris but making sure every
       details are met so both sides feel completely comfortable.
       We are about to make History in Sofia.

       Sent from my Android
       Excuse Google transcription errors-I often do not proofread them
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                 EXHIBIT II
         Case 1:17-ap-01099-VK                Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19
4/30/2018 https://steinbrecher-span.nextpoint.com/case/30250002/printable_documents/1007                     Desc
                                              Main Document    Page 31 of 84

          From: "R. DiMaggio" <thedimaggio@gmail.com>
          Sent: Wed, 03 Aug 2016 10:24:29 +0300
          To: "Svilosa-K. Dachev" <kdachev@svilosa.bg>, Alexander Panevopanev@mtgbg.com>
          Subject: We are about to lose the deal read below


          Evening Robin,

          I hope your enjoying your trip... Away!

          I'm certain your aware your requests are unusual and management
          are having second thoughts... Please be aware that talent secures a date
          with a deposit before anymore negotiations continue...


          There fore if theres any other requests or 3rd party requests...


          We will have to close negotiations at this time... And pass on this event.


          Theres many moving parts moving to fast... Management wiU be concern if we have more red flags
          concernmg this booking...


          Sorry but we never had these kinds of unusual requests...


          BR
          Neil Epstein,
          OTA

          Sent from my Android
          Excuse Google trmscription errors-I often do not proofread them




                                                                                                            EXHIBIT

                                                                                                            ^
                                                                                                           ^DtM^6^lD
                                                                                                            Q-t-/^




https://steinbrecher-span.nextpoint.com/case/30250002/printable_documents/1007 1/1
        Case 1:17-ap-01099-VK           Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19
4/30/2018 https://steinbrecher-span.nextpoint.com/case/30250002/printable_documents/1645                  Desc
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           From: "Svilosa-K.Dachev" <kdachev@svilosa.bg>
          Sent: Tue, 02 Aug 2016 08:08:49 +0300
          To: FOND-JIVKO BOTEV <jboteff@peaceforyou.org>, FOND-ZORNITCA
          <zornicapetrova81@gmail.com>, SALKOV SASHO <Salkoff@abv.bg>, PANEVALEKSANDAR
          <apanev@mtgbg.com>
          Subject: Fwd: ota artists offers (October 1st 2016)




          Regards, Kr. Dachev



          Begin forwarded message:


              From: "R. DiMaggio" <thedimaggio(a)gmail.com>
              Date: 2 aaaono 2016 a., 3:22:28 A6eT6e-+3
              To: "Svilosa-K. Dachev" <kdachev(a)svilosa.ba>
              Subject: Fwd: ota artists offers (October 1st 2016)


              Just got to ASIA here is an email for you Kris let's keep moving forward I extended the
              Deal until August 3rd. On OTIend.
              I don't want to lose this deal it was to much work to put together and I will not injure
              anymore relationships on this end and of COURSE with you!!! Which we have a long term
              relationship that just started.

              > Hello Robin,
              >
              > My deepest apologies for some of the imperfections on the agreement offer but
              > during our previous conversation I didn't want to proceed with any offers for a
              > 3rd party purchaser to purchase talent artists.
              >
              > Which is why I wanted to discussed this further on Monday...
              > But you explained to me that you needed to get theses offers out ASAP...
              >
              > I was able to speak with management on availability and the budgeted to meet
              > overall costs you explained to me.
              >
              > With that said, I've made the necessary corrections on the deal offer.
              >
              > Please notice that to proceed with this offer for the talent we can not distribute any
              > agreements until deposits are made for talent.
              >
              > The agreement that you received is our official deal agreement to get things in motion.
              >
              > And because we have a great relationship with you and your production company is
              > the only reason why we .are willing to subside the usu@l formalaties and procedures.
              >
              > Although, which you are aware of since our last conversation...
              > we normally do not even issue the deal offer agreement.
              >
              > PLEASE ADVISE... If theres any questions I can answer towards your project...
              > Let me know, But as I said, management will not sign-offon this until we receive
              > the deposits you mentioned would received by the August 3rd.




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        Case 1:17-ap-01099-VK          Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19
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              >
              > Especially because time has shorten...
              >
              > thanks again, hope to speak to you again...
              >
              > Best Regards,
              > Neil Epstein
              >OTA
              >
              >




          Email Disclaimer
          This emaii message may contain confidential information. If you have received this transmission in
          error, and you are not the intended recipient, be aware that any disclosure, copying, distribution or
          use of this transmission or its contents is prohibited. Please, immediateiy to notify us by Reply
          command and permanently delete the original and any copies thereof. E-mail transmission cannot
          be guaranteed to be secure and therefore Sviiosa AD/Sviioceli EAD do not accept legal
          responsibility for the contents of this message and for any damage whatsoever that is caused by
          viruses being passed. Please, note that any views or opinions presented in this email are solely
          those of the author and do not necessarily represent those of Svilosa AD/Sviloceli EAD.
          Thank You,
          Svilosa AD/Svilocell EAD




https://steinbrecher-span.nextpoint.com/case/30250002/printable_documents/1645 2/2
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                EXHIBIT JJ
  Case 1:17-ap-01099-VK         Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                  Desc
                                Main Document    Page 35 of 84
From: "R. DiMaggio" <thedimaggio@gmail.com>
                                                                                                  OG.-
Sent: Wed, 03 Aug 2016 12:11:29 +0300
                                                                                               ~)i '^••\t'(;. /i
To: Alexander Panev <apanev@mtgbg.com>
CC: "Svilosa-K. Dachev" <kdachev@svilosa.bg>                                                     o-/^
Subject: RE: P4YP4M

Perfect.
Send wire so we dont lose them and also send me what you want fixed and I will have them fix it its 2 am in
La 5 am in Ny. Cant do much in the next coming hours, but i will guarantee that the fixes are handled,
This is very exciting times ahead of us.

Sent from my Android
Excuse Google transcription errors-I often do not proofread them




On Aug 3, 2016 9:08 PM, "Alexander Panev" <apanev®mtgbg.com> wrote:

      Dear Robin,




      Thank you for the amended agreement, This is a positive step towards the mutual
      comfort.




      In the last added clause there is a clerical mistake I believe. It says "Therefore
      Cancelation will constitute that the Purchaser responsibility to reimburse ...".
      Maybe it should say: "Therefore Cancelation will constitute OTA responsibility to
      reimburse the Purchaser ...". Obviously it should be corrected.




      in addition, in the QTA e-mail which you have forwarded, we do not find our requests
      answered.




      Aiming to manifest our sincere will and to save time, we are ready to deposit the
      requested amount without any preconditions and afterwards to negotiate the terms
      and texts. This way there will be full comfort for you and OTA. In case you and OTA
      are OK with the idea, later on I will send you short agreement meaning that we wire
      the money, negotiate the artists, terms, and contracts, afterward for the agreed
      artjst you keep the money and respectively refund for disagreed ones.




      Somehow or other the Offer should be redrafted. Let us use the chance to make it
      OK for all of us,




      For the sake of convenience herewith I copy our requests. Please send this e-mail to
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   OTA in order to receive a concrete reaction on every point. We believe nothing will
   be achieved by pressure. Let us negotiate in a way which build mutual confidence
   instead of mistrust,




   1, Prior to enter in binding agreement we have to review all the texts (terms and
   conditions, contracts etc.) The other option is explicitly to specify in the DEAL OFFER
   FORM that in case of disagreement on the contract, the down payment will be
   repaid. NO ANSWER.

   2. In connection with the above the absolute impossibility of cancelation the
   Offer is unacceptable. In case there will be no contract and in case of force majeure,
   the down payment should be repayabte, The alternative approach would be the
   cited absolute impossibility ofcancelation to bind the artist also, which we see as
   inappropriate. NO ANSWER.

   3. The clause for joint and several liability of the Purchaser' representatives will
   be acceptable provided the One Talent Agency representatives are under the same
   kind of liability regarding all the obligations undertaken by One Talent Agency,
   including the upfront repayment in case of disagreement on the contract text or
   breach of contract. NO ANSWER.

   4, The One Talent Agency should state explicitly that in case of negligence or
   failure to keep all or part of its obligations, accordingly all or the respective part of
   the down payment will be duly repaid. ACCEPTED.




   Best regards,




   Al. Panev




   From: R. DiMaggio [mailto:thedimaggio@gmail.com]
   Sent: Wednesday, August 3, 2016 10:26 AM
   To: Alexander Panev; SviIosa-K. Dachev
   Subject:




   Here is the final agreement.
   >
   >
   > This email and any files transmitted with it are confidential and intended solely for the use of
   the individual or entity to whom they are addressed. If you have received this email in error
   please notify the system manager. This message contains confidential information and is intended
Case 1:17-ap-01099-VK         Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                    Desc
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   only for the individual named. If you are not the named addressee you should not disseminate,
   distribute or copy this e-mail. Please notify the sender immediately by e-mail if you have
   received this e-mail by mistake and delete this e-mail from your system. If you are not the
   intended recipient you are notified that disclosing, copying, distributing or taking any action in
   reliance on the contents of this infonnation is strictly prohibited.
   >
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                                                          TAL£NT
                                                                     Agency

                                                   DEAL OFFER FORM
                                    Confidential Agreement for Engagement


 DATE OFFERED: August 1ST 2016 OFFER EXPIRATION DATE: August 4th 2016


 PURCHASER: PEACE FOR YOU PEACE FOR ME ORGANIZATION
                                         (Full Address Required)


 ARTIST FEES: Jennifer Lopez: $300k, Roger Waters: $150k, Robbi Williams $200k, Don Felder of(EAGLES): $150k
 (Main Budget: $800,000.00 (Eight Hundred Thousand Dollars USD)


 SUPPORT/OTHER ACTS FEES: Christina Aguilera: $200k & John Legend: $150k
 (Supporting Budget: $350,000.00 (Three Hundred-Fifty Thousand Dollars USD)


 DEPOSIT FEES: All Artists: JL=$ 200k / RW=$200k / D (Eagles)=$10Qk/ CA=$100k / J.Legend=$150k / R.Waters
 (Deposit Budget: $750,000.00 (Seven-Hundred & Fifty Thousand Dollars USD)


 FULL DEPOSIT TO BE RECEIVED: $750,000.00 (Seven Hundred-Fifty Thousand Dollars USD)

 PERFORMANCE PARTICIPATION: 2-3 Songs per Act (To Be Determined)

 VENUE: VASIL LEVE5KI NATIONAL STADUIM 38 Evlogi, 1 Hristo Georgievi Blvd, 1000 Sofia, Bulgaria
               (Full Address Required)


 PERFORMANCE INFO: Please note all that apply. Ifvenueisnon-traditianal, please attach photos to help visualize setup.
 Indoor/Outdoor: OUTDOOR EVENT Tented/Covered Stage: YES
 Estimated Attendance/ Audience Type: 35,000 - 45,000 max attendance.
 Please include a description of all event details:
 Scaling (if applicable):

 LOAD IN (Day/Time): TBA DOORS: TBA


 SHOW TIME: TBA SHOW LENGTH: TBA

 EVENT TYPE: Please n&te all that apply. (CHARPTY CONCERT)
 PRIVATE: Corporate Employee Party/ Fundraiser/ Business to Business Event/ Incentive Trip/ Private Party/ Other:


 PURCHASER WILL PROVIDE & PAY FOR ON TOP OF GUARANTEE:
    Airfares: Hotel Accommodations: Ground Transportation:
    Backline: Sound & Lights: Other: Security


 MEET & GREET REQUEST: Please note, if applicable.
 Who will attend: TBA Approx. how many: TBA


 MERCHANDISE DEAL (ARTIST OR VENUE SELLS?]: _TBA

 PROMO/MARKETING REQUEST: Please note, all materials must be sent for written approval prior before any use.
 How will the event be prompted (internal/external/ invitation/email/social media requests/etc.)

 RADIUS CLAUSE: Please note, if applicable.
 Miles: TBA Days Prior: 2DAYS Days Following: 1DAY




 NEW YORK-LOS ANGELES-HONG KONG • NASHVILLE -MIAMI
Case 1:17-ap-01099-VK                         Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                                                      Desc
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 CONTRACT SIGNATORY
 Name:
 Company Name/ Address/ City/ State/ Zip:

 PURCHASER will provide the following for ARTISTS below:

 FULL PRODUCTIONS requirements include Sound, Lights, Backline, Equipment, Flight, Travel plus Hotels and Local,
 Ground Transportation plus Police and Security.


        A. JENNIFER LOPEZ: Private Travel arrangements only will be provided for Ms. Lopez for the following:
             NOTE: Private Flights from; NY to Bulgaria, (5 Star Hotel, 2 Suites, 10 Full Size Rooms) (6 Dancers / 4 Production)


        B. ROBBI WILLIAMS: Full Travel arrangements will be provided for Mr. Williams
             NOTE: London to Bulgaria: (2) 1!T Class ticket/ (4) Business Class 5 Star Hotel (6 Round-Trip Flights (2 suites, 4 Full Size Rooms)


        C. DON FELDER: Travel: (1) 1" Class ticket / (1) Business Class only will be provided for Mr. Felder
             NOTE: (5 Star Hotel, 2 Suites, Full King Size Rooms)


        D. ROGER WATERS: Travel arrangements for Mr; Williams that are the following:
             NOTE: (5 Star Hotel, 2 Suites, 4 Full Size Rooms) (2 Production)


        E. JOHN LEGEND: Private Travel arrangements only will be provided for Mr. Legend for the following:
             NOTE: Private Flights from: NY to Bulgaria, (5 Star Hotel, 2 Suites), Grand Piano


        F. CHRISTINA AGUILERA: Travel: (2) 1ST Class ticket/ (8) Business Class only will be provided for Ms. Aguilera
             NOTE: (5 Star Hotel, 2 Suites, 8 Full Size Rooms) (4 Dancers / 4 Production)


 This constitutes a firm offer for the services of Artists as summarized above. Upon acceptance by Purchaser, a
 binding agreement will later be issued in existence between the parties as to the terms contained herein and this
 offer may not be revoked, rescinded or cancelled by Purchaser for any reason, including but not limited to a force
 majeure occurrence, without full payment of the indicated compensation to Purchaser.

 If theArtist is not available or does not accept your offer. Artist fees will be applied towards another
 artist(s) or returned if the artist declines or has a caneelation of performance

 Therefor Cancelation will constitute that the Purchaser responsibility to reimburse the Purchaser for full
                                 remibursement of that specific Artist of Artists Fees.

 Purchaser shall understand this constitute as official deal offer that won't be applicable until deposit fees have
 been received. All additional terms and conditions of the long form agreement to be issued and negotiated after
 Deposits have been officially received.


 Your signature below indicates that you are authorized to make all transactions and shall be jointly and severally
 liable for all obligations contained herein including payments due to the Artist,


 NO ANNOUNCEMENTS OR MARKETING WILL BE APPROVED UNLESS APPROVED IN WRITING AND DEPOSIT HAS
 BEEN RECEIVED.



 Signed this _ day of _,2016


 PURCHASER:




 By:_
        PEACE FOR YOU, PEACE FOR ME (Representative)




 NEW YORK-LOS ANGELES*HONG KONG • NASHVILLE •MIAMI
 Case 1:17-ap-01099-VK            Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19             Desc
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From: "R, DiMaggio" <thedimaggio@gmail.com>
Sent: Wed, 03 Aug 2016 10:24:29 +0300
To: "Svilosa-K. Dachev" <kdachev@svilosa.bg>, Alexander Panev <apanev@mtgbg.com>
Subject: We are about to lose the deal read below


Evening Robin,


I hope your enjoying your trip... Away!

I'm certain your aware your requests are unusual and management
are having second thoughts... Please be aware that talent secures a date
with a deposit before anymore negotiations continue...


There fore if theres any other requests or 3rd party requests...


We will have to close negotiations at this time... And pass on tMs event.


Theres many moving parts moving to fast... Management -will be concern if we have more red flags
concerning this booking...


Sorry but we never had these kinds of unusual requests...


BR
Neil Epstein,
OTA

Seat from my Android
Excuse Google transcnption errors-I often do not proofread them
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             EXHIBIT KK
  Case 1:17-ap-01099-VK           Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                   Desc
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From: "R. DiMaggio" <thedimaggio@gmail.com>
Sent: Wed, 03 Aug 2016 21:51:20 +0300
To: Alexander Panevopanev@mtgbg.com>, "Svilosa-K.Dachev" <kdachev@svilosa.bg>
Subject: Fwd: RE: P4YP4M


Alex if youbsend the money in their accounts you are going to Pay 33% taxes.ontop of what you are paying I
had told Kris to continue paym into my corporation and i wUl then wire immediately into there account same
day.


Its up to you?


I thought this was already done, which can cause a problem now because of the delay.

Sent from my Android
Excuse Gopgle transcription errors-I often dp not proofread them


           Porwarded message ———
From: "Alexander Panev" <ananev®mt2bfi.com>
Date: Aug 3, 2016 10:30 PM
Subject: RE: P4YP4M
To: "R, DiMaggio" <thedimaggiora)gmail.com>
Cc: "Svilosa-K. Dachev" <kdachev(®svilosa.bs>


       Robin,

       Kindly ask you to send OTA details for contract (full name, reg. number, address,
       representatives, bank account and contacts), I will send these data to our
       representatives in US to consult the contract draft quickly,




       Regards,




       Alexander




       From: R. DiMaggio [mailto:thedimaggio@gmail.com]
       Sent: Wednesday, August 3, 2016 12:32 PM
       To: Alexander Panev
       Cc: Svilosa-K. Dachev
       Subject: RE: P4YP4M




       I will have all the questions rewarded to your specifications because what you are asking for is
       fair.
       However we need to show them a deposit as they wake up in a few hrs.

       I am on stand by and ready to finilaze this today.
       Just so you know where I am is 930pm Wednesday evening.
       Im a day ahead of LA and NY.
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   Kris we have to talk about the song -for Jay.
   Everyone is telling me they are coming to LA to record it but that has to be discussed with you
   and I first.
   As always my respect and loyalty.

   Im actually going to try to sleep for a few hrs.

   Sent from my Android
   Excuse Google transcription errors-I often do not proofread them




   On Aug 3, 2016 9:08 PM, "Alexander Panev" <apahev(cDmtgbg.com> wrote:

   Dear Robin,




   Thank you for the amended agreement, This is a positive step towards the mutual
   comfort,




   In the last added clause there is a clerical mistake I believe. It says "Therefore
   Cancelation will constitute that the Purchaser responsibility to reimburse.,.".
   Maybe it should say: "Therefore Cancelation will constitute OTA responsibility to
   reimburse the Purchaser.,.". Obviously it should be corrected,




   In addition, in the OTA e-mail which you have forwarded, we do not find our requests
   answered.




   Aiming to manifest our sincere will and to save time, we are ready to deposit the
   requested amount without any preconditions and afterwards to negotiate the terms
   and texts. This way there will be full comfort for you and OTA. In case you and OTA
   are OK with the idea, later on I will send you short agreement meaning that we wire
   the money, negotiate the artists, terms, and contracts, afterward for the agreed
   artist you keep the money and respectively refund for disagreed ones,




   Somehow or other the Offer should be redrafted. Let us use the chance to make it
   OK for all of us,




   For the sake of convenience herewith I copy our requests. Please send this e-mail to
   OTA in order to receive a concrete reaction on every point. We believe nothing will
   be achieved by pressure, Let us negotiate in a way which build mutual confidence
   instead of mistrust.
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   1. Prior to enter in binding agreement we have to review all the texts (terms and
   conditions, contracts etc.) The other option is explicitly to specify in the DEAL OFFER
   FORM that in case of disagreement on the contract, the down payment will be
   repaid. NO ANSWER.

   2. In connection with the above the absolute impossibility of cancelation the
   Offer is unacceptable, In case there will be no contract and in case of force majeure,
   the down payment should be repayable. The alternative approach would be the
   cited absolute impossibility of cancelation to bind the artist also, which we see as
   inappropriate. NO ANSWER.

   3. The clause for joint and several liability of the Purchaser' representatives will
   be acceptable provided the One TalentAgency representatives are under the same
   kind of liability regarding all the obligations undertaken by One Talent Agency,
   including the upfront repayment in case of disagreement on the contract text or
   breach of contract. NO ANSWER;

   4. The One Talent Agency should state explicitly that in case of negligence or
   failure to keep all or part of its obligations, accordingly all or the respective part of
   the down payment will be duly repaid. ACCEPTED.




   Best regards,




   Al.Panev




   From: R, DiMaggio [mailtoithedimaggioOgmail.com]
   Sent: Wednesday, August 3, 2016 10:26 AM
   To: Alexander Panev; Svilosa-K, Dachev
   Subject:




   Here is the final agreement.
   >
   >
   > This email and any files transmitted with it are confidential and intended solely for the use of
   the individual or entity to whom they are addressed. If you have received this email in error
   please notify the system manager. This message contains confidential information and is intended
   only for the individual named. If you are not the named addresse'e you should not disseminate,
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   reliance on the contents of this information is strictly prohibited.
   >
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              EXHIBIT LL
   Case 1:17-ap-01099-VK                                Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                                                              Desc
                                                        Main Document    Page 47 of 84
From: "Svilosa-K.Dachev" <kdachev@svilosa.bg>
Sent: Thu, 04 Aug 2016 09:45:30 +0300
To: PANEVALEKSANDAR <apanev@mtgbg.com>
Subject: Fwd: NEW AGREEMENT




Regards, Kr. Dachev




Begin fonvarded message:

          From: "R. DiMaggio" <thedimaggio(a)gmail.com>
          Date: 4 asrycT 2016 r., 8:28:41 FpHHyHq+3
          To: "Svilosa-K.Dachev" <kdachev(a>svilosa.be>
          Subject: Fwd: NEW AGREEMENT

          Here it is Kris,


          I cant do more then this,

          Send the funds and lets go to work.

          I am ready to replace myself for this coming UN event to make sure this show is 100% handled
          on aLL sides.


          You and I will need to be extremely close on the phone during the next 2 weeks.
          Alex as well who i have yet to meet.

          > This email and any files transmitted with it are confidential and intended solely for the use of
          the individual or entity to whom they are addressed. If you have received tMs email in error
          please notify the system manager. This message contains confidential information and is intended
          only for the individual named. If you are not the named addressee you should not disseminate,
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capics thereof. E-mail transmission caimot be guaraiifL'etl to be sccurr and Tl'ieiefare Svilosa AD/Si'iIocd! £AD da uot accept legal i-L'spunsibility tar die con'teuLs of diis
message and for any clairiagc whatsacvc-r tliai is caused by viruses b^ng passed. Please, note tiiaT any views or opini.oiis pL'cscn.tcd in thi? [?maU aie solely tiioso of' tb.c autlior
and do not necessariiy represent those of Svilosa A'D/Svilocell EAD.
Thank                                     You,
SvilosaAD/Svilocell EAD
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                 DIMAGGIO INTERNATIONAL, !NC
    Kris Dachav (the Purchaser)




    DiMaggio International Inc. (The A9ency)

    Taking for granted that DiMaggio International, Inc. is fully comparable and experienced with Talent Brokerage Agency...


             This letter of Engagement is to confirm that KRIS DACHEV & ASSOCIATES (hereinafter known as "PURCHASER").
              Like to acknowledge professional brokerage sen/ices facilitated by DIMAGGIO INTERNATIONAL, INC.
             (collectively referred to as "AGENCY")


             The Purchaser is willing to use the Agency expertise in engagement of various artists (Artist/s) for their participation in the

              Event.



              EVENT:_PurchaseLj-e£resents_PEACE FORYOU PEACE FOR ME FOUNDATION (the Foundation) in orqanizinq_a concertjn

              Bulaaria (the Event).

             LOCATION: The Event is planned for October 1. 2016 in Sofia town, at The National Stadium Vasil Levski. address: 38, Evloqi I

             Hristo Georaievi. 1000 Sofia, Bulgaria.


    The Parties concluded this Agreement as follows:
         1. SUBJECT OF THIS AGREEMENT: the Agency undertakes to cooperate with and to facilitate the Foundation in concluding
             contracts with Artists, specified in this Agreement, for participation in the Event.


        2. The List of Artists describes the names, which the Agency undertakes to engage for the Subject of the Agreement.

        3. As a result of consultations between the Parties the list of Artists could be amended from time to time and the Parties shall sign

             the respective amendment to this Agreement.


        4. LIST OF ARTISTS:
                   a. JENNIFER LOPEZ
                   b. ROGER WALTERS
                   c. JOHN LEGEND
                   d. CHRISTINA AGUILERA
                   e. ROBBI WILLIAMS
                  f. DON FELDER


        5. The Term of this Agreement is until OCTOBER 3"° 2016.


        6. Purchaser shall transfer $750,000.00 (Seven Hundred & Fifty Thousand Dollars USD) to transfer into Agency Escrow account

             (Escrow) as a Guarantee for future payments related to Artists engaged with participation in the Event



        7. The term for the transfer the Guarantee is 5 banking days from receiving with Purchaser of the Escrow agreement.



        8. Agency remuneration fees shall obtained thru commissions of the services of the Artist upon closing of the agreement from

             Artists fees.


        9. The Subject of the Contract shall be deemed successfully fulfilled provided at least 20 names from the List of Artists are

             contracted for the Event during the Term of Agreement Otherwise the Subject is not fulfilled and the Guarantee shall be

             repaid in full to Purchaser in the first banking day following the end of the Term




   NEW YORK • LOS ANGELES <;• LONDON • PARIS
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               DBMAGGIO INTERNATIONAL, !NC
       10. Not later than the next day after signing this Agreement the Agency shall e-mail the drafts of and the links to the entire

            documentation such as contracts, Artists terms and conditions etc., which are expected to be agreed, signed and executed by

            the Foundation (Artists Requirements). Once the Parties agreed on a specific Artists Requirements, the respective amount for

            this Artist shall be released from Escrow.



       11. If the Parties could not agree on a specific Artists Requirements, as the case maybe:

                 a. This Artist shall be removed from the List and the List of Artists shall be amended accordingly;
                 b. Whilst within the Term of this Agreement, after preliminary Purchaser's acceptance in writing (including .e-mail), this
                      Artist could be replaced with another one. In this case the List of Artists shall be amended accordingly;



       12. In case this Agreement is expired the remaining amount (if any) in the Escrow shall be transferred back to the Purchaser within

            30 days after the term of this agreement.



       13. The Agency is not entitled to:

                 a. Undertake any liabilities or enter in any kind of contracts, or amend already agreed contracts, on behalf of the

                      Purchaser without prior Purchaser's approval by e-mail or authorization in writing;

                 b. Negotiate under this Agreement with artists who are not in the List of Artists, except prior Purchaser's approval by e-

                      mail;

       14. The Purchaser does not bear any responsibility for any Agency expenses, loses whatsoever.



       15. The Parties bank accounts: please see invoice provided by AGENCY: DIMAGGIO INTERNATIONAL, INC.


       16. The Parties e-mail addresses and telephone numbers:

                 a. Fprthe Agency: thedimaQaio@Qmail.com

                 b. For the Purchaser: kdachev@mtaba.com



       17. Each one Agency and the Purchaser separately declares:

                 a. By entering in this Agreement does not violate any national law in the respective place of incorporation, cpnsfitLrtive

                      act or internal rules;
                 b. Persons who signed this Agreement and will sign eventual amendments to it are and will be duly authorized;

                 c. Each Party shall treat as Confidential information all the e-mails, letters and documents received from the other Party

                 d. Each Party shall:
                               i. not disclose the Confidential information to any third party;

                              ii. Not use the Confidential information for any purpose unless in connection with the execution of tasks under

                                  projects, contracts and activities agreed between the Parties;

                              iii. Take any action on the protection of the Confidential information from destruction, loss, change or

                                  damage;
                              iv. Keep properly the submitted Confidential information by simply restrict access to it and prevent it from

                                  spreading through printing, forwarding, copying or sharing by any means except with prior approval of

                                  issuing Party.
       18. Any dispute, controversy or claim arising out of or in connection with this Agreement will be finally settled under the law,

           applicable at the seat of the Agency:



       PURCHASER: KRIS DACHEV &ASSOCIATES AGENCY: DIMAGGIO INTERNATIONAL, INC.




      Signatory (date) Signatory (date)




   NEW YORK • LOS ANGELES 0 LONDON • PARIS
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           EXHIBIT MM
  Case 1:17-ap-01099-VK           Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19    Desc
                                  Main Document    Page 51 of 84
From: "R. DiMaggio" <thedimaggio@gmail.com>
Sent: Thu, 04 Aug 2016 16:20:14 +0300
To: Alexander Panev <apanev@mtgbg.com>
CC: "MTG-K.dachev" <kdachev@mtgbg.com>
Subject: RE: Here is my Signature attached


Send to my Account DiMaggio int.
For right now time is about to be against us if i dont show proof.

Sent from my Android
Excuse Google transcription errors-I often do not proofread them




On Aug 5, 2016 12:06 AM, "Alexander Panev" <apanev(2)mtgbg.com> wrote:

      Dear Robin,




     Please find attached the signed Agreement as amended by your lawyer. We are
     waiting the Escrow account details and the Escrow agreement as stated in
     paragraph 7.




      In between please take in to consideration as follows:


      1. As discussed several time Mr. Don Felder will be welcomed with the rest of
      EAGLES, We will amend the List accordingly.

      2. Please check out availability of Robert Plant and Jimmy Page and their
      Requirements.




      Best regards,




     Alexander




     Regards, Kr. Dachev




     Begin forwarded message:
                                                                                    "EXHIBIT
            From: "R. DiMaggio" <thedimaggiofi)gmail.com>
            Date: 4 aBrycT 2016 r., 8;55:52 FpHHyHq+3
                                                                                      5^
                                                                                    D/M/t^/P
            To: "Svilosa-K.Dachev" <kdachev®svilosa.b5>, "MTG-K.dachev"
                                                                                     ' 6-/-^
            <kdachevra>mtgbg.com>
Case 1:17-ap-01099-VK      Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19   Desc
                           Main Document    Page 52 of 84
       Subject: Here is my Signature attached


       Sent from my Android
       Excuse Google transcription errors-I often do not proofread them
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             EXHIBIT NN
  Case 1:17-ap-01099-VK             Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                Desc
                                    Main Document    Page 54 of 84
From: "R. DiMaggio" <thedimaggio@gmail.com>
Sent: Thu, 04 Aug 2016 22:15:18 +0300
To: "Svilosa-K.Dachev" <kdachev@svilosa.bg>
CC: Alexander Panev <apanev@mtgbg.com>
Subject: Re: OTH.:


I agree 100%
Confirmed.


We are all here to win, and make sure we have a concert that makes a loud noise m the Baltics and further
more around the world.
So yes You have my Word.

Sent from my Android
Excuse Google transcription errors-I often do not proofread them




On Aug 5, 2016 7:11 AM, "Svilosa-K.Dachev" <kdachev®svilosa.bg> wrote:


     Dear Robin ,if you agree immediately after your return to LA to fulfill the conditions .stipulated
     in the contract between us, tomorrow , Friday , your account will be credited with the requested
     amount of $ 750,000 .

     Regards, Kr. Dachev




     On 4.08.2016 r., at 21:57, R. DiMaggio <thedimaggio®gmail.com> wrote:

             Are we set with a wire?
             I still do not have proof.

             Sent from my Android
             Excuse Google transcnption errors-I often do not proofread them




             On Aug 5, 2016 3:27 AM, "R. DiMaggio" <:thedimaggio®gmail.com> wrote:


                   I agree to both terms explicidy,
                   However it takes up to 24 hours for the escrow to be open so give me till
                   the 12th, to be safe.

                   Send wire confirmation so i can show the Managers this is real.
                   Thanks


                   Sent from my Android
                   Excuse Google transcription errors-I often do not proofread them




                   On Aug 5, 2016 3:16 AM, "Alexander Panev" <apanev®mtgbg.com>
                   wrote:
Case 1:17-ap-01099-VK      Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19        Desc
                           Main Document    Page 55 of 84
                Ordered by Mr. Dachev we will pay if you explicitly confirm
                that we will have the Escrow clause and papers strictly
                respected immediately at your return 10th.




                Show the money and do not spend it until the money land in
                Escrow account.




                Please confirm both.




                Regards




                AJL HaHeB


                Al. Panev




                    — OpHnmamo cbo6BqeHHe


                OT: "R. DiMaggio" <thedimaggio(£)gmail.com>

                flaTa: 4.08.16 r. 16:28 (GMT+02:00)

                ftfi: Alexander Panev <apanev(2>mtgbg.com>, "SvUosa-
                K.Dachev" <kdachev®svUosa.be>


                TeMa:




                I cant create a new escrow account until i return back to the
                states August 10th.
                Kris and I agreed today if paperwurk was ok then wire would
                be sent,


                I am playing with Eire with management once again and we
                are very close to losing the deal if you want to play that
                direction be my guest but the people involved are going to
                walk away as Aug 3rd came and went.
                And I absolutely Promise YOU. I will nof put this back
                together a third time if it faUs apart.
                Lasdy, i "wiU inquire about Plant and Page but those 2 are
                royalty and if your not 'worried about their cost then lets see
                what they say, its gotta be in the neighbourhood of 1.5 to 2
Case 1:17-ap-01099-VK                        Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                                                          Desc
                                             Main Document    Page 56 of 84
                                miUion to get those 2 together on 1 stage.
                                Its half of Zepelin.
                                Let me know.




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                               them




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             EXHIBIT OO
 Case 1:17-ap-01099-VK               Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                 Desc
                                     Main Document    Page 58 of 84

From: "R, DiMaggio" <thedimaggio@gmail.com>
Sent: Fri, 05 Aug 2016 12:59:12 +0300
To: Alexander Panev <apanev@mtgbg.com>
CC: "Svilosa-K.Dachev" <kdachev@svilosa.bg>
Subject: RE: P4YP4M

I am in the middle of Tasmania, there is no scanners. But on sun i will be able to sign whatever you need.
Alex, stop delaying and asking for more.
Please send the wire as pronised last night by Kris, his word is immaculate towards me as Mine is towards
him.
I am doing UN work right now and 1 already told aU management funds were sent.


Im going to ask you kindly one last time to please send proof of-wire.

I have done everything Kris has asked.
And pre warned escrow would be open latest by the 12th.

No more emails
Its time to engage.
Thank you for respecting.


Sent from my Android
Excuse Google transcription errors-I often do not proofread them




On Aug 5, 2016 9:27 PM, "Alexander Panev" <apahev@mtgbg.com> wrote:

       OK but please sign the attached and send it scanned now.




       Alexander




       From: R, DiMaggio [mai(to:thedimaggio(a)gmail.com]
       Sent: Friday, August 5. 2016 12:08 PM
       To: Alexander Panev
       Cc: Svilosa-K.Dachev
       Subject: Re: P4YP4M




       Thank you Al ex,
       I will amend this within the next few days or latest by 10th and also will open Escrow by 12th
       ready to operate.
       Lastly please send \vire info and i will tell my bank to keeo an eye on it and will let you know as
       soon as it hits my account.


       Sent from my Android
       Excuse Google transcription errors-I often do not proofread them
Case 1:17-ap-01099-VK          Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                 Desc
                               Main Document    Page 59 of 84



   On Aug 5, 2016 7:05 PM, "Alexander Panev" <apanev(S>mtgbg.com> wrote:


   Robin,




   Today you will have the money as agreed. Please send back the attached
   Amendment signed and dated by you asap,




   Best regards,

  Alexander




   From: R, DiMaggio [mailto:thedimaggio(a)gmail.com]
   Sent: Thursday, August 4, 2016 10:15 PM
  To: Svilosa-K.Dachev
  Cc; AlexanderPanev
  Subject; Re: OTH.:




  I agree 100%
  Confirmed.


  We are all here to win, and make sure we have a concert that makes a loud noise in the Baltics
  and further more around the world.
  So yes You have my Word.

  Sent from my Android
  Excuse Google transcriptiQn errors-I often do not proofread them




  On Aug 5, 2016 7:11 AM, "Svilosa-K.Dachev" <kdachevra)svilosa.bg> wrote:


  Dear Robin ,if you agree immediately after your return to LA to fulfill the Gonditions stipulated
  in the contract between us, tomorrow , Friday , your account wiU, be credited with the requested
  amount of $ 750,000 .

  Regards, Kr. Dachev




  On 4.08.2016 r., at 21:57, R. DiMaggio <thedimaggio®gmail.com> •wrote:

        Are we set with a wire?
        I still do not have proof.
Case 1:17-ap-01099-VK         Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                   Desc
                              Main Document    Page 60 of 84

       Sent from my Android
       Excuse Google transcnption errors-I often do not proofread them




       On Aug 5, 2016 3:27 AM, "R. DiMaggio" <thedimaggiorcpgmail.com> wrote:

       I agree to both terms explicitly,
       However it takes up to 24 hours for the escrow to be open so give me till the 12th, to
       be safe.

       Send wire confirmation so i can show the Managers this is real.
       Thanks

       Sent from my Android
       Excuse Google transcription errors-I ofteu do not proofread them




       On Aug 5, 2016 3:16 AM, "Alexander Panev" <apanevfi)mtgbg.com> wrote:

       Ordered by Mr. Dachev we will pay if you explicitly confirm that we will have the
       Escrow clause and papers stricdy respected immediately at your return 10th.




       Show the money and do not spend it until the money land in Escrow account.




       Please confirm both,




       Regards



       Aji.HaHeB

       Al.Panev




                OpMTHHajiHO c'boSiqeHHe

       OT: "R. DiMaggio" <thedimaggio(a)gmail.com>

       flaTa: 4.08.16 r. 16:28 (GMT+02:00)

       flo: Alexander Panev <apanev(£>mtgbg.com>, "Svilosa-K.Dachev"
       <kdachev('5)svilosa.bs>

       TeMa:




       I cant create a new escrow account until! return back to the states August 10th.
       Kris and I agreed today if paperwork was ok then wire would be sent,

       I am playing with Fire with management once again and we are very close to losing
Case 1:17-ap-01099-VK                         Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                                                        Desc
                                              Main Document    Page 61 of 84

            the deal if you want to play that direction be my guest but the people involved, are
            going to walk away as Aug 3rd came and went.
            And I absolutely Promise YOU. I will not put this back together a third time if it falls
             apart.
            Lastly, i will inquire about Plant and Page but those 2 are royalty and if your not
            worried about their cost then lets see what they say, its gotta be in the neighbourhood
            of 1.5 to 2 million to get those 2 together on 1 stage.
            Its half of Zepelin.
            Let me know.


            Sent from my Android
            Excuse Google transcription errors-I often do not proofread them




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   views or apinious presented in this email ace solely those ei ihe audmr ;uitl do UB.I uecess'arily reptesciit lliose of Svilusa AD/Svilucell EAD.
   Thank                                                                                                    Ion,
   SviIosaAD/SviluceU EAB
     4/26/2018,Case        1:17-ap-01099-VK                 Doc 42          Filed 07/23/18               Entered 07/23/18 15:21:19         Desc
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                                                         https://steinbrecher-span.nextpoint.com/case/30250002/printable_documents/23




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                   05 08 16 - 13:52:08                                 F'l'OUTPU'l'

                   . . . . . . ·· . . . . . . . . . . . . . INSTANCE TYPE AND TRANSMISSION .... • ..... .
                   COPY SENT TO SWIFT
                   PRIORITY                                                :NORMAL
                   MESSAGE OUTPUT REFERENCE                                :1608051352                           UBBSBG$FXXX
                   CORRE!3PONDENT INPUT REFERENCE                          :1.608051352                          BJ;CTRUS33
                   .. , ; . . . . . . . . . . . . . . . . MESSAGE HEADER . . . . . . . . • . . , .. , . . . . . . . . . . . .
                   SWIFT OUTPUT                            :FIN 1.03 CUSTOMER TRANSFER
                   SENDER                                   UBBSBGSFXXX
                                                            UNITED BULGARIAN Bl'.NK
                                                             (l:iEADQUARTER)
                                                            SOFIA                                                   BG
                   RECEIVER                                :BKTRUS33
                                                            DEUTSCHE BANK TRUST COMPANY AMERICA
                                                            NEW YORK                                                USA
                   . . . . . . . . . . . . . . ; ... , .MESSAGE TEXT ................· .... ,, .•. ~·... .
                   2 0 ·: TRA\\lSACTION REFERENCE NUMBER

                   23B: CRED
                   32Ao VALUE DATE, CURRENCY AND AMT
                        DATE             105 AUGUST 2016
                        CQRRENCY         :USD US DOLLAR
                        AMOUNT           :******750000.00
                   33B: CpRRENCY I INSTUC.TED AMOUNT
                        BGN1323750.oo
                   3 6: EXCHA.."IGE RATE
                        .1..765
                   50 : ORDERING CUSTOMER

                         SVILOZA AD
                         ADMINISTRATIVNA SGRADA NA SVILOZA
                         BG SVISHTOV ZAPADNA INDUSTRIALNA Z
                   52A:: ORDERING BANK
                         UBBSBGSF
                         CENTRAL BRANCH
                   57B: ACCOUNT WITH BANK

                            C;ITI BANK
                            THOUSAND OAKS BLVD
                            WESTLAKE VILLAGE UNITED STATES
                    5,9.    BENEFICIARY' S CUSTOMER

                         DJ:11AGGIO INTERNATIONAL INC.
                         5737 KANAN ROAD ll7AGOURA HILLS
                         UNITED STATES
                    70   DETAILS OF PAYMENT
                         ANEKS 02.08.2016 PO DOG 14.07,2016
                         I SPORA.ZUMENIE 04.0B.2016
                         v POLZA NA FONDACIA MIR ZA TEB MIR
                         ZA MEN
                    71A: J:lETAILS OF CHARGES
                         OUR
                    71F: S'ENDER'S CHARGES
                         BGN720.00
                    72   SENIJER TO ·'j'!:ECEIVER INFORMl'~TION




                                                                                                                       PFY000032
                                                                              CONFIDENTIAL - Subject to Stipulated Protective Order

                                                                                                                                         EXHIBIT
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https://steinbrecher-span.nextpoint.com/case/30250002/printable_documents/23
                                                                                                                                                    1/2
           Case 1:17-ap-01099-VK                  Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19               Desc
  4/26/2018. https://steinbrecher-span.nextpoint.com/case/30250002/printable_documents/23
                                                  Main Document    Page 63 of 84




                      /AGC/EXPRESS/SUGLASDVAN

                SWIFT TRANSFER STATUS:ACK




                                                                                                             PFY 000033
                                                                    CONFIDENTIAL - Subject to Stipulated Protective Order




https://steinbrecher-span.nextpoint.com/case/30250002/printable_documents/23
       Case 1:17-ap-01099-VK             Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                      Desc
                                         Main Document    Page 64 of 84
                                              AMENDMENT

    To (he Agreement between Kris Dachev & Associates (Purchaser) and DIMAGGIO International Inc.
                       (Agency) signed respectively August 4, 2016 and August 3, 2016

Paragraph 1: Agency declares impossible to open the required Escrow earlier than 12 of August. In order to
guarantee fulfillment of the Agreement Purchaser wishes to receive the Guarantee amount in the foUowing
account:


DIMAGGIQ INTERNATIONAL, INC.

5737 Kanan Road #117

AgouraHms,CA 91301




Cm BANK
3967 a-e Thousand Oaks Blvd.

Wesflake Village, California

91362 USA

Bank Account:

Routing:

SWIFT CODE-citius33

Paragraph 2: Each one separately Agency and personally Robert DiMaggio declare and guarantee that the
Guarantee amount, once received as above, will be kept in all and the only transaction with the Guarantee
amount shall be the transaction towards Escrow account in accordance with the Agreement.

Paragraph 3: Agency and Robert DiMaggio declare and guarantee that the Guarantee amount shall be
transferred to the Escrow account as soon as possible but not later than August 12 end of fhe baridhg day.

Paragraph 3: Purchaser shall transfer the Guarantee amount in accordance wifh this Amendment relyuig on
fhe declarations an guarantees given above by the Agency and Robert DiMaggio.

Paragraph 4: Any action or transaction violating the Agreement and this Amendment shall be deemed as
gross negligence and Purchaser shall be entitled to cancel fee Agreement by e-mail notice to Agency without
any responsibility or liability towards Agency and/or Robert DiMaggio personally. In this case Agency and
Robert DiMaggio shaU be liable for the immediate repayment of all the amounts received under the
Agreement, this Amendment and. aU the amounts, received by DIMAGGIO International Inc. prior the
Agreement which amounts are related to the Event,




For the Purchaser: ........................ For the Agency:



Date:         ...........................           Date:




                                                                                                     PFY 000007
    Case 1:17-ap-01099-VK   Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19   Desc
                            Main Document    Page 65 of 84




 
 
 
              EXHIBIT PP
                         Case 1:17-ap-01099-VK
     OpnrnHanHo cTaofitiiieHne ~
                                                                                    Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                                                                             Desc
.OT:Sviiosa <kdachey@sviipsa.bg>
                                                                                    Main Document    Page 66 of 84
flaTa: 10.08.16 r. 22:01 (GMT+02:00)
fld: Alexander Panev <apanev@mtgbg.com>
TewaiFwd:




Kr.Dachev


Begin forwardad message:



          From: "R. DIMaggio" <thedimaggid@igmail.com>
           Date: August 10^2016 at 20:59^1 GMT+3
          Tp:l'S^ii6sa"K.Dachev" <kdachev@svilosa.ba>



          Lets talk in 2 hours
          I just got done being on the phone with an sntire group Q^
          They all feel we should postpone the Oct 1 st and move it to Dec 1st or that weekend.
          Because of the mick Jagger incident and keep it all seperate.
           i agree with them after talking for 40 min straight about it

          However here are the 2 chojees b;lack and white.
          We speakwe move itto Detetirst weekend gives us more time br I get the deposits back and send you moneys back.



          They dont operate the same way as they <^o in Europe for deadlfnes/For;m
          as an insult.

          I am 100% avail to speak with you in 1 hr. I haveaqutckdoctors app.

          No matterwhat i would love to^ntinue working flnffilsandmak^ it liappen in Dec;
          1 wantyou to know j respect you and wantto workthrough this email woth you.
          We are both buisness men and sometimes we have to deal with everything.



          Sent from my Andrdid
          Excuse Gobglelranserjption^rrQrs-Uoften do not prpofread them



Enrarosa.^ms'
TJ-i-is eire.il .:7-jK.:if|? •F^| csniain ]:on';ciori';3! ir.'oirnalicT^ ir ycu haw fecspred ttiis tistisrR'si-an' In ei'3L jnd yon Tim nc-it Ihe s-ien'-lsa ic-ciciEi'l. oe a'.'iLiie 1131 any flitclosure. ap^ny. d'sfiBiHsan or use ol •ii'is
tnjlsri3E;:.n c.r Its c-aiiisnlt 13 tiuniblled Peas;, immediately l,r.' ni!'."',' us B'(' RcE'ff co'nn:-rid EI'O cis'-rianenlf? cleie!; ir:e niiginal arid £!;»' scpiss lhEU3l. E-na" •ra-'ismsston came! b.s aiJSirsiiieEd !o be r.ECure and
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Tiia;1!-, faj,
Sv-QtaW^asi^ShD




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  Case 1:17-ap-01099-VK            Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19   Desc
                                   Main Document    Page 67 of 84
From: Alexander Panev <apanev@mtgbg.com>
Sent: Man, 07 Nov 2016 11:05:29 +0200
To:"?????????? ?????" <apanev@mtgbg.com>
Subject: FW: P4YP4M




From: Alexander Panev [mailto:apanev:@mtgbg.com]
Sent: Thursday, August 11, 2016 10:40 AM
To; 'R. DiMaggio'
Cc: 'Svilosa-K. Dachev'
Subject: P4YP4M




Dear Robin,




Please send me the last Amendment signed by you.




Best regards,




Alexander




From: R. DiMaggio [mailto:theclimaggio0gmail.com]
Sent: Wednesday, August 10, 2016 11:25 PM
To: Alexander Panev
Cc; Svilpsa-K. Dachev
Subject: Re: Fwd:




I need to call him roght away and try to save this

Sent from my Android
Excuse Google transcription errors-I often do not proofread them




On Aug 10, 2016 12:25 PM, "Alexander Panev" <apanev(®mtgbg.com> wrote:

Dear Robin,




                                                                                     PFY000416
  Case 1:17-ap-01099-VK            Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                  Desc
                                   Main Document    Page 68 of 84
Mr. Dachev ask me to tell you that he is surprised. Note that December here is cold winter, temperatures
maigh be deep below zero, could be a lot of snow and often flights are canceled.




Nevertheless in case you think that for you is impossible to manage as planned, say so and let the money
back.




Mr. Dachev is on the phone in case you would like to have a conversation with him,




Best regards,




Ae. laiaa


Al. Panev




     — TQeaeiaeunmauaiea -——


lo: Syilosa <kdachevfa)svilosa.bg>


Aaoa: 10.08.16 a. 22:01 (GMT+02:00)

Ai: Alexander Panev <aDanev(S)mtsbg.com>


OaH:Fwd:




Kr. Dachev



Begin forwarded message:

        From: "R. DiMaggio" <thedimaggio©gmail.com>
        Date: August 10, 2016 at 20:59:41 GMT+3
        To: "Svilosa-K. Dachev" <kdachev®svilosa.bs>


        Lets talk in 2 hours
        I just got done being on the phone with an entire group of managers.
        They all feel we should postpone the Oct 1st and move it to Dec 1st or that weekend.
        Because of the mick Jagger incident and keep it all seperate,



                                                                                                    PFY000417
   Case 1:17-ap-01099-VK                               Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                                                              Desc
                                                       Main Document    Page 69 of 84

          I agree with them after talking for 40 min straight about it.

          However here are the 2 choices black and white.
          We speak we move it to Dec first weekend gives us more time or I get the deposits back and send
          you moneys back.

          The other situation was the Agreement was until aug 3rd and I dldnt get your signature to show
          them proof until the 4th or 5th.
          They dont operate the same -way as they do in Europe for deadlines. For me it didnt matter but for
          the brokerage firm they took that as an insult.

          I am 100% avail to speak with you in 1 hr. I have a quick doctors app.
          No matter what i would love to continue Working on this and making it happen in Dec.
          I want you to know i respect you and want to work through this email woth you.
         We are both buisness men and sometimes we have to deal with everything.


          Sent from my Android
          Excuse Gpogle transcription errors-I often do not proofread them




Email                                                               Disclaimer
Tills ciUiaUjurssagL' may contain Lonljdentialinlormation, If you }\we: received this u-ausimssion iiLerrur, and yunafe nul dLG mlfndcf.l recipii^ni, bGawarfct that any disdosurei
copying, distribnlian or usf of tiiis nansmission or its eontems is proliibired. Please, iaunetliately 10 notify us hy Reply command and. pmnaaentiy deletf die original and any
copies thereof. E-mail nansmission caimot lie guaranteed to lie secure and ihcrefore Svildsa AD'SviloceU EAD do not accept legal n'sponsibilin' f.m the contents uf this
message and for any damage wliatsneveilhai is causeilby yii-uscs beuig passed. PlcasE, note dial any views or opinions prcseriteil in xhis email are solely those ofiheaudioc
and do not necessarily reprascnt thosu of Svilosa A.D/Sri1oce]l BAD.
Thank                                                                                                   You,
Svi'.qsa AD/SwlbcelI EAD




                                                                                                                                                                     PFY000418
  Case 1:17-ap-01099-VK           Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                     Desc
                                  Main Document    Page 70 of 84
From: Alexander Panev <apanev@mtgbg.com>
Sent: Man, 07 Nov 2016 11:07:20 +0200
To:"?????????? ?????" <apanev@mtgbg.com>
Subject: FW: RA/: P4YP4M




From: R. DiMaggio [mailto:thedimaggio@gmail.com]
Sent: Friday, August 12, 2016 7:35 PM
To; Alexander Panev
Cc; Svilosa-K.Dachev
Subject: Re: FW: P4YP4M




Absolutely but today is the D day.
Trying to recouperate aU the artist back for Oct 1st. If i cant then the money needs to be reimbursed on both
sides,
I just woke up.


Good Morning

Sent from my Android
Excuse Google transcription en'ors-I often do not proofrpad them




On Aug 12, 2016 3:41 AM, "Alexander Panev" <apanevra)mtgbg.com> wrote:


Reminder




Dear Robin,




Be so kind to sign, scan and send the attached Amendment as agreed please,




Best regards,




Alexander                                                                                          EXHIBIT
                                                                                                    "m
                                                                                                 D/^6-6^
                                                                                                    5-/-/^




                                                                                                      PFY000387
  Case 1:17-ap-01099-VK            Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                  Desc
                                   Main Document    Page 71 of 84

From: Alexander Panev [mailto:apanev(5)mtgbg.com]
Sent: Thursday, August 11, 2016 10:40 AM
To: 'R. DiMaggio'
Cc; 'Svilosa-K. Dachev'
Subject: P4YP4M




Dear Robin,




Please send me the last Amendment signed by you.




Best regards,




Alexander




From: R. DiMaggio [mailto:thedimaggio(a)gmail.com]
Sent: Wednesday, August 10, 2016 11:25 PM
To: Alexander- Panev
Cc: Svilosa-K. Dachev
Subject: Re: Fwd:




I need to call him roght away and try to save this

Sent from my Android
Excuse Gbogle transcriptibn errdrs-I often do not proofaead them




On Aug 10, 2016 12:25 PM, "Alexander Pariev" <apanev(®mtgbg.com> wrote:


Dear Robin,




Mr, Dachev ask me to tell you that he is surprised. Note that December here is cold winter, temperatures
maigh be deep below zero, could be a lot of snow and often flights are canceled.




Nevertheless in case you think that for you is impossible to manage as planned, say so and let the money
back.




                                                                                                     PFY000388
 Case 1:17-ap-01099-VK            Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                  Desc
                                  Main Document    Page 72 of 84

Mr. Dachev is on the phone in case you would like to have a conversation with him.




Best regards,




Ae. laiaa


Al.Panev




——— laeaeiaeu fimauaiea ———


to: Svilosa <kdachev®svilosa.bg>

Aaoa: 10.08.16 a. 22:01 (GMT+02:00)

AT: Alexander Panev <aDanev(a)mtsbfi.com>


Oaia: Fwd:




Kr. Dachev



Begin fonvarded message:

      From: "R. DiMaggio" <thedimaggio(2> gmail.com>
      Date: August 10, 2016 at 20:59:41 GMT+3
      To: "Svilosa-K. Dachev" <kdachev®svilosa.b2>


      Lets talk in 2 hours
      I just got done being on the phone with an entire group of managers,
      They aU feel we should postpone the Oct 1st and move it to Dec 1st or that weekend.
      Because of the mick Jagger incident and keep it aU seperate.
      I agree with them after talking for 40 min straight about it.

       However here are the 2 choices black and white.
      We speak we move it to Dec first weekend gives us more time or I get the deposits back and send
       you moneys back.

      The other situation -was the Agreement was until aug 3rd and I didnt get your signature to show
      them proof until the 4th or 5th. .
      They dont operate the same way as they do in Europe for deadlines. For me it didnt matter but for
      the brokerage firm they took that as an insult.




                                                                                                    PFY 000389
  Case 1:17-ap-01099-VK                                Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                                                               Desc
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         I am 100% avail to speak with you in 1 hr. I have a quick doctors app.
         No matter what i would love to continue working on this and making it happen in Dec.
         I want you to know i respect you and want to work through this email woth you.
         We are both buisness men and sometimes we have to deal with everything.


         Sent from my Android
         Excuse Google transcription errors-I often do not proofread them




Email                                                               D.isduimer
This email message may contain canttdentiai information. If you Iiave rtcrived this a'ansmission in EITUI, and you are not die intendecl recipient, be aware that any disclosuie,
copying, distutnrtiouor use at this timismlssioa or its contents is. proliibited. Please, iiumc'tliately to nafify us by Reply cpmmaDclanclpnmauently (lelere die origina] and aay
copies theryof. E-mail U-ansaussion caniiQi fac guaraiitedd to be secm'e and therefore Svilo'i'a AD/S\'-iIocell ]7 AD do nol accept legal cyspoiisibilily for llie contiriits uf this
message arid for any damage wiiatsoever that is causeii by viruses being passed. .Please, note that any vieirs 01: npinions presenteil in this cmEtil are solely dioss of. the author
aid do not necessarily represent those of Svilosa AD/Svilocell EAD.
Thank                                                                                                         You,

SvnusaAD/Sv.iluc;eIl EAD




                                                                                                                                                                       PFY 000390
    Case 1:17-ap-01099-VK   Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19   Desc
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             EXHIBIT QQ
  Case 1:17-ap-01099-VK           Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19     Desc
                                  Main Document    Page 75 of 84

From: Alexander Panev <apanev@mtgbg.com>
Sent: Man, 07 Nov 2016 11:14:27 +0200
To:"??????????'?'????" <apanev@mtgbg.com>
Subject: FW:




From: R. DiMaggio [mailto:thedimaggio@gmail.com]
Sent: Tuesday, August 16, 2016 8:18 PM
To: Alexander Panev
Subject: RE:




As soon as everyone returns the deposits.
I will forward to your swift

Sent from my Android
Excuse Google transcrip.tion errors-I often do not proofread them




On Aug 16, 2016 10:05 AM, "Alexander Panev" <apanev(®mtgbg.c6m> wrote:

It is in the SWIFT that you have. In case your bank needs something more please specify.




Al,Panev




From: R. DiMaggio [mailto:thedimaggiocaigmail.com]
Sent: Tuesday, August 16, 2016 7:59 PM
To: Alexander Panev
Cc: Svilosa-K. Dachev
Subject: RE;




Send wire info.


Sent from my Android                                                                 EXHIBIT
Excuse Google transcription errors-I often do not proofread them
                                                                                      (^
                                                                                   T)/M^6f^P
                                                                                     G'l-1^

On Aug 16, 2016 9:55 AM, "Alexander Pahev" <apanev(a)mtgbg.com> wrote:




                                                                                      PFY000319
Case 1:17-ap-01099-VK          Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19                  Desc
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Dear Robin,




I can recall all the handicaps you faced for the last month: you can't seethe money, short
term, inability to sign, broken phone, trips, managers disagreement, brokers fired etc,, etc.




just for the record: still no Amendment despite of your promise; still no escrow account despite
of the agreement and your promise; still no artist engaged despite of your promise and despite
all that money we sent to you.




DK, now is clear that it is impossible for you to respect agreements and your own promises.




Please wire all the money back immediately.




Regards,




Alexander

From: Svilosa-K.Dachev [mailtoikdachevOsvilosa.ba]
Sent: Tuesday, August 16, 2016 6:43 PM
To: PANEV ALEKSANDAR
Subject: Fwd:




Regards, Kr. Daehev



Begin forwarded message:

     From: "R. DiMaggio" <thedimaggio(a)gmaiL£Qm.>
     Date: August 16, 2016 at 6:28:44 PM GMT+3
     To: "Svilosa-K. Dachev" <kdachev(®svilosa.bs>


     Every managers from,
     Lenny Kravitz
     Alecia Keys
     Earth-wind and fire
     CALVIN Harris

     Have all contacted my team asking why in the world are some idiots from Bulgaria counter



                                                                                                 PFYOQ0320
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          asking for the show on Oct 1st?

          Its really embarrassing on ALL fronts.
          I am here trying to get you artists and i have dumb fucking morrons counter asking.
          This is why Bulgaria mentality is where its at,
          You Mr Dachev are an amazing man who i respect and feel there could of been potential to
          actually save As show but because of the idiots involved you wiU not be able to achieve -what you
          and I wanted.
          To many inquiries from to many unstable sources of people asking about the same people. You
          will end up with very small names.


          Now you understand why i asked not to deal with the people involved and only be involved with
          you,.


         Your idiots have made this show impossible to happen, i dont care if theres 50 million dollars the
         taste is bad in everyones mouth out here, i just wished you would of let me handle this like ive
          done for decades.
         With 100% success.
         Sad day for Sofia.

         We should get on the phone,
         Whiever did the demands made sure to kill my deal as no one wants to even hear from US again
         regarding Sofia.
         They will no longer respect my discount offers that i had gotten you today of aU. days.
          I wole up to embarrassing emails,
         This has cost me incredible nobility ive built in the last 25 years.

         Im extremely pissedl
         Ill cool down and call you,
          Its done on this side, notbing else i can do to save this.
         You obviously have the Great promoters of Bulgria asking for talent, they can come up with it.

          Sent from my Android
         Excuse Google transcription errors-I often do not proofread them




Email                                                                 Disclaimer
This email message may contEun cBnfittentiaI infaimatiuii. Hynu tiaye recri-red diis o.-aismissiuii iu eifai, and you are not the inteuded recipienc, bi; awm'e tliat any disclpsnre,
copying, tlmribation oc use- ul'.diis lcansmissigu GC it'; contents- is pL'ijhibiled, Please, iiniuydiattily LD notify us by Reply command and pemianoutly delete tlie emgiiiial and any
copies thcreuf. E-mail tTansmissioii ca^nol lie guaTanl-eecl to lit; secure and tlierefore Svitu^a AD/SYilocell EAD do rjot accept legal responsibHiLy for the contents of this
message and for any diimage wnatscEver tliat is caused by vinises being passed. Please, note that any views or opiiuons presenred m dris email are solely those nf the audior
and do UBt necessarily repn'senl tliosE of S'rilasa AD/SvUgcell £AD.
Thank                                                                                                    ''Tou,

SvilosaAD/Svilucell EAD




                                                                                                                                                                          PFY000321
    Case 1:17-ap-01099-VK   Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19   Desc
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             EXHIBIT RR
Case 1:17-ap-01099-VK   Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19   Desc
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              EXHIBIT SS
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Case 1:17-ap-01099-VK   Doc 42 Filed 07/23/18 Entered 07/23/18 15:21:19   Desc
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                                                 PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Lesnick Prince & Pappas LLP, 315 W. Ninth St., Suite 705, Los Angeles, CA 90015

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF ALEXANDER PANEV IN SUPPORT
OF MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 07/23/2018, I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

         Matthew A Lesnick matt@lesnickprince.com, matt@ecf.inforuptcy.com; jmack@lesnickprince.com
         David Seror (TR) mtzeng@brutzkusgubner.com, C133@ecfcbis.com
         United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

                                                                                     Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date)              , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.

                                                                                                   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 07/23/2018, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
mail to, the judge will be completed no later than 24 hours after the document is filed.

        PERSONAL DELIVERY                                                     PERSONAL DELIVERY
        Hon. Victoria S. Kaufman                                              Robin DiMaggio
        United States Bankruptcy Court                                        5737 Kanan Rd., #117
        21041 Burbank Blvd., Suite 354                                        Agoura Hills, Ca 91301
        Woodland Hills, CA 91367
                                                                                                   Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 07/23/2018                       Janet A. Mack                                                         /s/Janet A. Mack
 Date                             Printed Name                                                          Signature




                  This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


  December 2012                                                                                               F 9013-3.1.PROOF.SERVICE
